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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE


  BRENNA KANE, et al.,                  :
                                        :
                    Plaintiffs,         :
              vs.                       :     Civil Action No. 2:19-CV-506-GZS
                                        :
  THE DEPARTMENT OF HEALTH              :
  AND HUMAN SERVICES FOR THE :
  STATE OF MAINE, et al.,               :
                                        :
                    Defendants.         :
  ________________________________________________________________________
                                PLAINTIFFS’ CONSENT TO
                  DEFENDANTS’ MOTION TO DISMISS JOHN DOE

         Defendants have moved to dismiss the unidentified defendant “John Doe” from the

  case on the ground that the Americans with Disabilities Act does not afford a private cause

  of action against an individual. Defendants correctly read the Act and Plaintiffs accordingly

  consent to the dismissal of John Doe.

  Dated: January 21, 2020

                                                        Respectfully submitted,

                                                        /s/ Stacey D. Neumann
                                                        STACEY D. NEUMANN
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                                           Counsel for Plaintiffs
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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE


  BRENNA KANE, et al.,                            :
                                                  :
                          Plaintiffs,             :
                  vs.                             :    Civil Action No. 2:19-CV-506-GZS
                                                  :
  THE DEPARTMENT OF HEALTH                        :
  AND HUMAN SERVICES FOR THE                      :
  STATE OF MAINE, et al.,                         :
                                                  :
                          Defendants.             :


                                        CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on the below date, I electronically filed the

  above document with the Clerk of the Court using the CM/ECF system, which will send

  notification of such filing to the following:


          Kelly L. Morrell
          Kelly.l.morrell@maine.gov

          Kevin Beal
          Kevin.Beal@maine.gov


  Dated: January 21, 2020

                                                       Respectfully submitted,


                                                       /s/ Stacey D. Neumann
                                                       STACEY D. NEUMANN
                                                       Murray Plumb & Murray
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